Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-1 Filed 07/08/25 Page 1 of 34

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WITNESS
SHONE POWELL

CLERK:
FEB 26 2024
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF MISSISSIPP]
Contice Coane REPORTER

Caseé’3:22ev00734‘DPJ-HSO-LHS Document 299-1 Filed 07/08/25" * Page’2'of 34

BID M229 9 melAQ

GOLDEN TRIANGLE PLANNING AND DEVELOPMENT DISTRICT, INC.

dun Testimony Whereof, I have hereunto set
my hand and caused the Great Foal
of the State of Mississippi to be
affired, this the 26th aay of October, 1976.

EXHIBIT
OEE, Clea b- DX-16

LIEUTENANT AND ACTING Governor.

Seorstary of ‘State,

DX-016-001
Case 3:22-cv-00734-DPJ-HSO-LHS -.. ‘Document.299-1 _ Filed-07/08/25.. Page 3.of 34

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soon 229 mma 200
o RESOLUTION OF GOLDEN: TRIANGLE PLANNING AND
DEVELOPMENT DISTRICT, INC.

WHEREAS, the Golden Triangle Planning and Development District. was
incorporated on the 8th day of June, 1972, and oo
WHEREAS, it is the desire. of the Golden Triangle Planning and De-
velopment District, Inc., ta amend its Articles of Incorporation as
follows :
Delete: Wording contained in Article 4. Substitute the
following: "This corporation is organized exclusively for
charitable purposes within the meaning of Section 507(c}(3)
of the Internal Revenue Code of 1954 by lessening the burdens —
of government."
‘Delete: First sentence in Article 6(a).
Add: Article 6(h) - "Notwithstanding any other provisions
of these articles, this corporation shall not carry on any
other activities not permitted to be carried on by (a) a cor- oe
poration exempt from Federal income tax under section 501(c){3) = :
of the Internal Revenue Code of 1954 or the corresponding pro- . .
visions of any future United States Interna] Revenue Law or
(b) a corporation contributions to which are deductible under
section 170(c)(2) of the Internal Revenue Code of 1954 or any
other corresponding provision of any future United States Law."
' Add: Article 6(i) - "In the event of dissolution, the
residual assets of the organization will be turned over to
one or more organizations which themselves are exempt as
organizations described in sections 501(c) (3) and 170(c)(2)
of the Internal Revenue Code of 1954 or corresponding sec-
tions of any prior or future Internal Revenue Code, or to the
Federal, State, or Local government for exclusive public

purpose."

DX-016-002
Case-3:22-Cy-00734-DPJ-HSO-LHS . Doeument 299-1 Filed 07/08/25 Page 4 of 34

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NOW THEREFORE, 8E IT RESOLVED that the Secretary of the Golden Tri-
angle Planning and Development. District, Inc., who is an adult resident
citizen Of the State of Mississippi, be authorized and directed to ap-
a os “ply for and secure from the appropriate officials of the State of Mis- .
sissippt, an amendment to the Articles of Incorporation of the Golden
ke _.. Twhangle Planning and Development District, Inc., and to execute and
. deliver all necessary applications, certiftcates, and documents to ac-
complish said purpose as well as any and all other things necessary to
secure approval thereof and effectuate the intent expressed in this

resolution. .

~ RESOLVED on this the’_30___ day of | __Septenber 1976.

CERTIFICATE

I, James B. Stark _, Secretary of Golden Triangle Planning and De-

velopment District, Inc., do hereby certify that the above foregoing is
a true and correct copy of a resolution of the Golden Triangle Planning
and Development District, Inc., unanimously adopted and approved by the

more than two-thirds membership thereof present on September 30 , 1976

_ tna regular business meeting as the same appears in the Minute Book of
said association. I further certify that the Minute Book of said cor-

_ poration is in my custody and that the resolution, as adopted, has not
been repealed, amended, or modified.

WITNESS MY SIGNATURE hereunto affixed this 30 day of September ,

ww I Ataf
yr on ¢
cretary, Golden Triangle Planning

d Development District, Inc.

19 76.

DX-016-003
Case 3:22-cv-00734-DPJ-HSO-LHS ‘Document 299-1 Filed 07/08/25: “Page 5°Of 34
pot 229 e252.

~ ARTIULES OF AMENDMENT TO THE
_ ARTICLES OF INCORPORATION
GOLDEN TRIANGLE PLANNING AND DEVELOPMENT DISTRICT, INC.

Pursuant to the provisions of Section 79-11-9, Mississippi Code of
1972, the undersigned corporatfon adopts the following Articles of Amend-->
ment to its Articles of: Incorporation, .
Eirst: The corporation is amended to

Delete: Wording contained in Article 4. Substitute the
following: "This corporation is organized exclusively for chari-
table purposes within the meaning of Section 501{c)(3) of the In-
ternal Revenue Code of 1954 by lessening the burdens of government." -

Delete: First sentence in Article 6(a), ° . .

Add: Article 6(h) - "Notwithstanding any other provisfons
of these articles, this corporation shall not carry on any other
activities not permitted to be carried on by (a) a corporation ex-
empt from Federal income tax under section 501(c)(3) of the Internal.
Revenue Code of 1954 or the corresponding provisions of any future os
United States Internal Revenue Law or (b) a corporation contributions - .
to which are deductible under section 170(c)(2) of. the Internal
Revenue Code of 1954 or any other corresponding provision of any
future United States Law."

Add: Article 6(i) - "In the event of dissolution, the resf-
dual assets of the organization will be turned over to one or more
organizations which themselves are exempt as organizations described
in sections 501(c)(3) and 170(c)({2) of the Internal Revenue Code of
1954 or corresponding sections of any prior or future Internal Rev-
enue Code, or to the Federal, State, or Local government for exclu-
sive public purpose."

Second: This amendment of the Articles of Incorporation was adopted

by the members of the corporation on September 30, 1976, at a regular

meeting of the members of the corporation at Mississippi State, Missis-

sippi.

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DX-016-004
®cv-00734-DP3-HSO-LHS Document 299-1 = Filed 07/08/25" ‘Page 6 of 34

a a pt 229 nee 253

Ss. l. 24s DATED: This the 2nd day of __, October , 19_76_.

"SIGNED: Golden Triangle Planning and

Development District, Inc.

Peta. BY:
“OAS. SO resident
:
bo ACKNOWLEDGEMENT

STATE OF MISSISSIPPI
COUNTY OF OKTIBBEHA

This day personally appeared before me, the undersigned authority in
and for the jurisdiction aforesaid, M. M. Pearson, President of the Golden
Triangle Pianning and Development District, Inc., who acknowledges that he
Signed and executed the above and foregoing Articles of Amendment to the

Articles of Incorporation of the Golden Triangle Planning and Development

District, Inc., on this the 2day of (C-4Y.- (Iw 7k,

SIGNED: WK 775 Oeuel!

Notary Public

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Laie My Commission Expires :
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“et .

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Case 3:22-cv- p Sal Js SO-LHS -. .Document 299-1 Filed 07/08/25" “-Page 7 of 34
BORK MERCI a

Received at the office of the Secretary of State, this the day of L wf

/ pe 7
A.D., 19 A. together with the sunr of $ deposited to cover the recording fee, and
referred to the Attorney General for his opinion.

Jackson, Miss.,

Let 21, 476

I have examined endastteschnatad— of AAD care of inorporation,
and am of the opinion that it is not violative of the Constitétion and laws of this State, or of the United

States.

DX-016-006
"2 Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-1 Filed 07/08/25 Page 8 of 34

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EXECUTIVE Sell are i
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Jackson
Lhe uithin and (foneqoing Amendment to the
Charter of Incorporation of

CENTRAL MISSISSIPPI PLANNING AND DEVELOPMENT DISTRICT, INC.

th heneby ofyproved.

In Cestinony Wherenf, I save hereunta set
my hand and caused the Great Seal
of the State of Mississifipre to te
af fired, this the \4cth day of April A.D.,1975.

DX-016-007
r.

aGase 3 3:22-cv-00734-DPJ- HSO- LHS... - Docunieny, 299:

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‘Filed ozjoa/as ”2a¢

CERTIFIED COPY OF RESOLUTIONS
ADOPTED BY

CENTRAL MISSISSIPPI
PLANNING AND DEVELOPMENT. DISTRICT, INC.
AT A MEETING HELD-O -MARCH:-19,..1975:
AUTHORIZING AND: DIREC? HE ABOPTIC
, THE F OLLOWING Ri ESC

WHEREAS, Central Mig sissippi Planning and Development Dist

Inc., is a voluntary, non-profit, incorporation chartered by the State of

Mississippi, and a

WHEREAS, after thorough discussion in a duly held meeting this: 3

corporation desires to adopt the following Resolutions. “

THEREFORE, BE IT RESOLVED by Central Mississippi Planning — 4

and Development District, Inc., that:

(1) In the event of dissolution, the residual assets of the
organization will be turned over to one or more organizations
which themselves are exempt as organizations described in
Sections 501 (c)(3) and 170 (c)(2) of the Internal Revenue
Code of 1954 or corresponding sections of any prior or
future Internal Revenue Code, or to the Federal, State, or

Local Government for exclusive public purpose,

(2) Notwithstanding any other provision of these articles,

this corporation shall not carry on any other activities not
permitted to be carried on by (a) a corporation exempt from
Federal Income Tax under Section 501 (c){3) of the Internal

Revenue Code of 1954 or the corresponding provision of any

DX-016-008
"BS RBSe 3:22-Ev-00734-DPJ-HSO-LHS . Document 299-1 Filed 07/08/25 _ Page 10 of 34

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Ae) 2) of the Internal Revenue Code of 1954 or any other

orrés ponding provision of any future United States Internal

CERTIFICATE

F : a I, Robert L. Davis, President of Central Mississippi Planning and

Development District, Inc., do hereby certify that the above and foregoing

‘resolutions are true and correct copies of certain resolutions adopted by

Central Mississippi Planning and Development District, Inc., in a meeting

assembled on the 19th day of March , 197.5 _, in Jackson, Mississippi.

WITNESS MY SIGNATURE, THIS 19th day of _ March, 197.5.

hbk C beak,

PRESIDENT

DX-016-009
. CaSe 3:22-cv-00734-DPJ-HSO-EHS: “ Document:2

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ARTICLES OF AMENDMENT TO THE eS
ARTICLES OF INCORPORATION

OF

“

Central Mississippi Planning’ and’ Deve

Pursuant to the provisions 8 Section: 79-11-9 of. the 1972

Mississippi Code, Annotated, the undersigned corporation adopts the

following Articles of Amendment to its Articles of Incorporation.
First: (L) In the event of dissolution, the residual assets of oo

the organization will be turned over to one or more organizations which -

themselves are exempt as organizations described in Sections 501 (c)(3) -

and 170 (c)(2) of the Internal Revenue Code of 1954 or corresponding

sections of any prior or future Internal Revenue Code, or to the Federal,

State, or Local Government for exclusive public purpose.

(2) Notwithstanding any other provision of these articles,
this corporation shall not carry on any other activities not permitted to be
carried on by (a) a corporation exempt from Federal Income Tax under
Section 501 (c)(3) of the Internal Revenue Code of 1954 or the. corresponding.
provision of any future United States Internal Revenue Law or (b) acor-_
poration contributions to which are deductible under Section 170 (c)(2) of the ,
Internal Revenue Code of 1954 or any other corresponding provision of any
future United States Internal Revenue Law.

Second: The following amendment of the Articles of Incorporation

was adopted by the member's of the corporation on March 19th, 197_5_, ata

regular meeting of the members of the corporation at Jackson, Mississippi:
(1) In the event of dissolution, the residual assets of

the oreanization will be turned over to one or more organizations which
DX-016-010
S ‘Case: 3:22-cv-00734-DPJ-HSO-LHS - Document 299-1. Filed 07/08/25 Page 12 of 34

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nv pook 287 wc 504
and 170 (c)(2)-0f the Internal. Revenue Code of 1954 or corresponding

sections ‘of.any prior or. future Internal Revenue Code, or to the Federal,

of Lécal Government for exclusive public purpose.

(2) Notwithstanding any other provision of these articles,
this corporation shall not carry on any other activities not permitted to be

- carried on by (a) a corporation exempt from Federal Income Tax under

, Séction 501 (c)(3) of the Internal Revenue Code of 1954 or the corresponding
provision of any future United States Internal Revenue Law or (b) a cor-
poration contributions to which are deductible under Section 170 (c)(2) of the
Internal Revenue Code of 1954 or any other corresponding provision of any

future United States Internal Revenue Law.

DATED: This the 19th day of March, 1975.

SIGNED: Central Mississippi Planning and Develop-

ment District, Inc.

we kihak L hbo

PRESIDENT

DX-016-011
Case 3:22-cv-00734-DPJ-HSO-LHS =:: Docu ment 299-1 >. Filed 07/08/25"*Page -13-0f 34:

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* e@rey

ACKNOWLEDGMENT

STATE OF MISSISSIPPI

COUNTY OF HINDS

This day personally appeared before me,. the undersigned

authority in and for the jurisdiction aforesaid, Robert L. Davis, oe

President of Central Mississippi Planning and Development District, inc., -

who acknowledges that he signed and executed the above and foregoing.

Articles of Amendment to the Articles of Incorporation of Central Mississip pi

Planning and Development District, Inc., on this, the 19th day of March _,

;

197° 5 : oJ, b “

op oS Ethd EF Gate,
meet NOTARY PUBLIC

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DX-016-012
= Casé 8:22%0v:00734-DPJ-HSO-LHS ~ Document 299-1 Filed 07/08/25 Page 14 of 34
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“Recsivd at the ottice of the Secretary of State, this atta 2 ty a Zod

7

ao ee ws soared ir General for his opinion.

me Jackson, Miss.,

 __fpail 4/9 75

_ [have examined this Amend mont of thE carter ot incorporation,
and am of the opinion that it is not violative of the Constitution and laws of this State, or of the United

States. , FE

“4 y ows
Assistant Attorney Gentra

DX-016-013
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-1 Filed 07/08/25 Page 15 of 34.
Business ID: 403877
Date Filed: 09/27/2013 05:00 PM
C. Delbert Hosemann, Jr.
Secretary of State

DELBERT HOSEMANN

11 F010 Secretary of State

OFFICE OF THE MISSISSIPP] SECRETARY OF STATE
P O BOX 136, JACKSON, MS 39205-0136 (601)359-1633

Registered Agent/Office Statement of Change
1. Company Name

East Central Planning and Development District, Inc.

(J corporation [Mi] nonprofit ([] limited liability company [[] limited parinership

(FJ limited liability parmership (1) foreign business trust ®
[) domestic C) foreign ~
2. Name of the Current Registered Agent and Registered Office (as on file with the Secretary of State) oe
—_
Name |Secretary of State, Jackson, MS
3. New Registered Agent’s Name and Registered Office
Name {Levera Chapman
. . . - eS
Physical 280 Commercial Drive, Newton, MS 39345 =
a
P.O. Box A99 rn
=
City. State, Zips, Zipay Newton MS}/39345 =
. . . PS
4. 0 The undersigned certifies that: 1) he/she has notified the above-named registered agent of this appointment: 2)@H:
he/she has provided the agent an address for the company, and; 3) the agent has agreed {o serve as registered agent for this
company.
By: Signature
Printed name | Bill Richardson me | Executive Director

Mail completed form with the $10 fee to SECRETARY OF STATE, PO BOX 136, JACKSON, MS 39205-0136. For
assistance contact a customer service representative at (800) 256-3494. Visit our website at Wwy.sos.ms.gov for forms and

instructions,

DX-016-014
Business (D: 201350
Date Filed: 11/28/2005 05:00 PM
Eric Clark
Secretary of State

F0012 - Page 1 of 3 OFFICE OF THE MISSISSIPPI SECRETARY OF STATE
BOX 136, JACKSON, MS 39205-0136 (601) 359-1333

P.O.
TAC Articles of Amendment

The undersigned persons, pursuant to Section 79-4-10.06 (if a profit corporation) or Section 79-11-
305 (if a nonprofit corporation) of the Mississippi Code of 1972, hereby execute the following
document and set forth:

1. Type of Corporation

Profit xX Nonprofit

2. Name of Corporation

North Delta Planning & Development District, Inc.

3. The future effective date is
(Complete if applicable)

4. Set forth the text of each amendment adopted. (Attach page)

5. If an amendment for a business corporation provides for an exchange, reclassification, or
cancellation of issued shares, set forth the provisions for implementing the amendment if
they are not contained in the amendment itself. (Attach page)

6. The amendment(s) was (were) adopted on

9/27/2005 Date(s)
FOR PROFIT CORPORATION (Check the appropriate box)

H8ZAON OOD16SL

directors without shareholder action and

Adopted by the incorporators shareholder action was not required,

FOR NONPROFIT CORPORATION (Check the appropriate box)

xX board of directors without member action and

Adopted b i . :
prea y the incorporators member action was not required.

FOR PROFIT CORPORATION

7. If the amendment was approved by shareholders

(a) The designation, number of outstanding shares, number of votes entitled to be cast by each
voting group entitled to vote separately on the amendment, and the number of votes of each voting
group indisputably represented at the meeting were

Designation No. of outstanding No. of votes entitled No. of votes
shares to be cast indisputably represented

Rev. 01/96

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F0012 - Page 2 of 3 OFFICE OF THE MISSISSIPPI SECRETARY OF STATE
.O. BOX 136, JACKSON, MS 39205-0136 (601) 359-1333

CRC NTET Articles of Amendment

(b) EITHER
(i) the total number of votes cast for and against the amendment by each voting group entitled
to vote separately on the amendment was

Voting group Total no. of votes Total no. of votes cast
cast FOR AGAINST

OR
(ii) the total number of undisputed votes cast for the amendment by each voting group was

Voting group Total no. of undisputed votes cast FOR the plan

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and the number of votes cast for the amendment by each voting proup was sufficient for approval

by that voting group.
FOR NONPROFIT CORPORATION

8. If the amendment was approved by the members
(a) The designation, number of memberships outstanding, number of votes entitled to be cast by

each class entitled to vote separately on the amendment, and the number of votes of each class
indisputably represented at the meeting were

No. of memberships No. of votes entitled No. of votes
indisputably represented

Designation
outstanding to be cast

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DX-016-016
Case S22-TV COTS DP a eee Poca EEO

F0012 - Page 3 of 3
Articles of Amendment

AUNT

(i) the total number of votes cast for and against the amendment by each class entitled to

(b) EITHER
vote separately on the amendment was
Voting class Total no. of votes Total no. of votes cast
cast FOR AGAINST

OR
(ii) the total number of undisputed votes cast for the amendment by each class was

Total no. of undisputed votes cast FOR the

Voting class
amendment

and the number of votes cast for the amendment by each voting group was sufficient for approval
(Please keep writing within blocks)

OFFICE OF THE MISSISSIPPI SECRETARY OF STATE
136, JACKSON, MS 39205-0136 (601) 359-1333

by that voting group.
By: Signature
(\emse C. Corl
Le
Printed Name | James B. Sowell Title | President
Rev. 01/96
DX-016-017

AMENDMENT TO THE CHARTER OF INCORPORATION OF
NORTH DELTA PLANNING & DEVELOPMENT DISTRICT, INC.

The Charter of Incorporation of North Delta Planning & Development District, Inc. contains
the following language:

The Current Language:

Upon dissolution of this corporation none of the assets of this corporation shall be distributed to or go to

any member thereof, but same shall be distributed to those corporations exempt under the provisions of the

U.S. Revenue Code.

The above language in the Charter of Incorporation of North Delta Planning & Development
District, Inc. is hereby deleted and replaced with the following:

The Amendment Adopted: .

DISSOLUTION OF THE CORPORATION

Upon the dissolution of this corporation, assets shall be distributed for one or more exempt purposes within
the meaning of section 501(c}(3) of the Internal Revenue Code, or corresponding section of any future

federal tax code, or shall be distributed to the federal government, or to a state or local government, for a

public purpose.

The date of this adoption of the foregoing amendment by the Board of Directors of this corporation was
September 27, 2005.

(SEAL) SGmer ©. otf

J James B. Sowell, President

ATTEST:
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ard Member

JACKSON 1082984v1

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DX-016-018

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O Mara, STEVENS JACKSON, Mississiprt 30225-2567
AMSOUTH PLAZA
17TH FLOOR
210 East CapitoL STREET

& CANNADA, pic
ATTORNEYS AT LAW
JACKSON, Mississipp! 39201
TELEPHONE: (601) 948-5711
FacsiMice: (601) 985-4500

www budersnow.com

Writer’s Direct Number
(601) 985-4302

November 28, 2005
VIA HAND DELIVERY
Mississippi Secretary of State
Corporations Division ,
700 North Street on
Jackson, MS 39202 ‘oO
Re: North Delta Planning & Development District, Inc. =
z=
wa
&
os

Dear Sir:
Enclosed herewith please find the duly executed Articles of Amendment for the above

captioned corporation and a check in the amount of $50.00 in payment of your filing fees. Please
review the Articles of Amendment and, if they meet with your approval, file them of record in your
office. Please hold the “filed” stamped copy for the undersigned to be picked up by our

messenger.
If you have any questions or if you need any additional information with respect to this

matter, please do not hesitate to contact us.
Very truly yours,

Qunuzloaavt

Marcie D. Davant

Legal Assistant
MDD:wp
Enclosures
:ODMA\MHODMA Vackson;71361;1
JACKSON, MISSISSIPPI GULFPORT, MISSISSIPPI MEMPHIS, TENNESSEE
DX-016-019

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10216005 ar Delbert Hosemann, Jr.
Secretary of State a

F0012 - Page 1 of 3 OFFICE OF THE MISSISSIPPI SECRETARY OF STATE

P.O. BOX 136, JACKSON, MS 39205-0136 (601) 359-1333

COAT A Articles of Amendment

The undersigned persons, pursuant to Section 79-4-10.06 (if a profit corporation) or Section 79-11]-
305 (if a nonprofit corporation) of the Mississippi Code of 1972, hereby execute the following
document and set forth:

1. Type of Corporation

Profit x Nonprofit

2. Name of Corporation

Southern Mississippi Planning and Nevelopment District,In

3. The future effective date is
(Complete if applicable)

4, Set forth the text of each amendment adopted. (Attach page)

5. If an amendment for a business corporation provides for an exchange, reclassification, or
cancellation of issued shares, set forth the provisions for implementing the amendment if
they are not contained in the amendment itself. (Attach page)

6. The amendment(s) was (were) adopted on

February 11, 2009 Date(s)

FOR PROFIT CORPORATION (Check the appropriate box)

oo pb di . .
: ! ; directors without shareholder action and
Adopted by | | the incorporators i j shareholder action was not required.

Reet a!

FOR NONPROFIT CORPORATION (Check the appropriate box)

board of directors without member action and

Adopted b inc x . :
pred oy the incorporators member action was not required,

FOR PROFIT CORPORATION

7. If the amendment was approved by shareholders

(a) The designation, number of outstanding shares, number of votes entitled to be cast by each
voting group entitled to vote separately on the amendment, and the number of votes of each voting
group indisputably represented at the meeting were

Designation No. of outstanding No. of votes entitled No. of votes
shares to be cast indisputably represented

Rev. 01/96

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F0012 - Page 2 of 3 OFFICE OF THE MISSISSIPPI SECRETARY OF STATE
P.O. BOX 136, JACKSON, MS 39205-0136 (601) 359-1333

ARTA OE Articles of Amendment

(b) EITHER :
(1) the total number of votes cast for and against the amendment by each voting group entitled
to vote separately on the amendment was

Voting group Total no. of votes Total no. of votes cast

cast FOR AGAINST
t aes
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OR

(ii) the total number of undisputed votes cast for the amendment by each voting group was

Voting group Total no. of undisputed votes cast FOR the plan

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and the number of votes cast for the amendment by each voting group was sufficient for approval
by that voting group.

FOR NONPROFIT CORPORATION

8. If the amendment was approved by the members

(a) The designation, number of memberships outstanding, number of votes entitled to be cast by
each class entitled to vote separately on the amendment, and the number of votes of each class
indisputably represented at the meeting were

Designation No. of memberships No. of votes entitled No. of votes
outstanding to be cast indisputably represented
Rev. 01/96

DX-016-021
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F0012 - Page 3 of 3 OFFICE OF THE MISSISSIPPI SECRETARY OF STATE
P.O. BOX 136, JACKSON, MS 39205-0136 (601) 359-1333

AACA AA Articles of Amendment

(b) EITHER

(i) the total number of votes cast for and against the amendment by each class entitled to
vote separately on the amendment was

Voting class Total no. of votes Total no. of votes cast
cast FOR AGAINST
4
OR
(ii) the total number of undisputed votes cast for the amendment by each class was
Voting class Total no. of undisputed votes cast FOR the
amendment
————_—-

and the number of votes cast for the amen

dment by each voting group was sufficient for approval
by that voting group.

By: Signature

(Please keep writing within blocks)

Yor (earthy |

Lynn Cartlidge Title

“A

Printed Name

President

Rev. 01/96

DX-016-022
. , Case 3:22-cv-00734-DPJ-HSO-CHS ~DOCUMent SOT tee Oo ae
102160054

RESOLUTION OF THE BOARD OF DIRECTORS

OF

SOUTHERN MISSISSIPPI PLANNING AND DEVELOPMENT DISTRICT, INC.

WHEREAS, Southern Mississippi Planning and Development District, inc., a Mississippi non-profit
corporation, (the “District”) is desirous of Amending its Charter of Incorporation to reflect its current
domicile; and

WHEREAS the District is further desirous of amending its Charter to expand the areas of the
State of Mississippi for which it is authorized to provide civic improvement and economic development,
housing and other benevolent activities and services and in which it may operate in doing so; and

WHEREAS the District has been requested by the State of Mississippi to provide certain services
and perform certain functions in areas beyond those currently specified in the District’s Charter of
Incorporation as currently stated.

NOW, THEREFORE, BE IT RESOLVED:

1. That Section 3 of the Charter of Incorporation be amended to provide that the domicile of the
corporation is at 9229 Highway 49, Gulfport, Mississippi 39503;

2, That Section 4 of the Charter of Incorporation, regarding the type of corporation as set out
therein, is the same except the corporation is now organized to develop the State of Mississippi
and its regions, including, but not limited to the following fifteen (15) counties: Covington,
Forrest, George, Greene, Hancock, Harrison, Jackson, Jefferson Davis, Jones, Lamar, Marion,
Pearl River, Perry, Stone and Wayne counties;

3. That Section 6 of the Charter of Incorporation be amended and enlarged to provide that the
Corporation is now organized for the civic improvement, economic development, housing and
other benevolent and/or charitable activities in the State of Mississippi and its regions,
including, but not limited to the following fifteen (15) counties: Covington, Forrest, George,
Greene, Hancock, Harrison, Jackson, Jefferson Davis, Jones, Lamar, Marion, Peart River, Perry,
Stone and Wayne counties;

4. That all other matters not specifically amended shall remain in full force and effect; and

5. That the Executive Director or his designee shall take such steps to have the Amendment of the
Charter of incorporation of Southern Mississippi Planning and Development District be filed and
recorded with the Secretary of State of the State of Mississippi and such other offices as
required by law,

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F/| SOUTHERN MISSISSIPPI PLANNING AND DEVELOPMENT DISTRICT « 9229 HIGHWAY 49 « GULFPORT, MISSISSIPPI 39503 * (228) 868-2311 FAX (228) 868-7094

April 16, 2009

Office of the Mississippi Secretary of State
Attn: Corporations Division

P. 0. Box 136 :

Jackson, MS 39205-0136

Re: Articles of Amendment to the Charter of Incorporation of
Southern Mississippi Planning and Development District, Inc.,
A non-profit corporation
Dear Sirs and Madams:
Enclosed with this letter please find for filing the original Articles of Amendment as set forth above. We
are also enclosing our check, numbered 011854, in the amount of $50.00 submitted in payment of the

filing fees.

Also enclosed is an extra copy of the Articles of Amendment which we would appreciate your stamping
“Filed” and returning to us.

If anything further is required of us, please let me know.
Sincerely,

William W. Abbott, Jr.

Director of Human Resources
And Special Project Manager

Enclosures (3)

wwwsmpdd.com

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